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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                           ____________________

 SYLVIA JAMES,                              Case No. 2:12-cv-10273

             Plaintiff,                     Hon. Paul D. Borman
 v.                                         Magistrate Judge R. Steven Whalen

 HILLIARD HAMPTON, an individual
 and as Mayor of the City of Inkster;
 CITY OF INKSTER; DAVID JONES;
 DEBORAH GREEN; PAMELA
 ANDERSON; PAUL FISCHER, an
 individual and Executive Director of the
 Judicial Tenure Commission;
 JUDICIAL TENURE COMMISSION
 OF THE STATE OF MICHIGAN; and
 VALDEMAR WASHINGTON,

             Defendants.


                                 APPEARANCE

       John J. Bursch enters his appearance as co-counsel for Defendants Deborah

 Green, Paul Fischer, the Judicial Tenure Commission of the State of Michigan, and

 Valdemar Washington.

 Dated: May 2, 2016                    s/John J. Bursch
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                                         Attorney for Deborah Green, Paul Fischer,
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                                         of Michigan, and Valdemar Washington


                            CERTIFICATE OF SERVICE

          This certifies that the foregoing appearance was served May 2, 2016 by

 electronic mail using the Eastern District of Michigan’s Electronic Case Filing

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